Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 1 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 2 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 3 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 4 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 5 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 6 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 7 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 8 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 9 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 10 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 11 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 12 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 13 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 14 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 15 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 16 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 17 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 18 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 19 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 20 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 21 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 22 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 23 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 24 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 25 of 26
Case 3:21-cv-00128-ART-CSD Document 1 Filed 03/17/21 Page 26 of 26
